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1       UNITED STATES COURT OF INTERNATIONAL TRADE

2

3       Case No. 1:25-cv-00066-GSK-TMR-JAR

4       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

5       In the Matter of:

6       V.O.S. SELECTIONS, INC., et al.,

7                        Plaintiffs,

8                   v.

9       DONALD J. TRUMP, et al.,

10                       Defendants,

11      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

12

13                       U.S. Court of International Trade

14                       One Federal Plaza

15                       New York, NY 10278

16

17                       May 13, 2025

18                       11:00 a.m.

19

20      B E F O R E :

21      HON. GARY S. KATZMANN

22      HON. TIMOTHY M. REIF

23      HON. JANE A. RESTANI

24      U.S. INTERNATIONAL TRADE JUDGES

25

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                                                                        Page 4

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1                                P R O C E E D I N G S

2                   CLERK:     All rise.     The United States Court of

3       International Trade is now in session.                 The Honorable Gary

4       S. Katzmann, Timothy M. Reif, and Jane A. Restani presiding

5       before Court Number 25-00066, V.O.S. Selections, Inc. et al

6       v. Donald J. Trump et al.

7                   Will the attorneys please state their names for

8       the record, starting with the Plaintiffs?

9                   MR. SCHWAB:     Jeffrey Schwab on behalf of the

10      Plaintiffs.

11                  MR. STEPHENS:      Reilly Stephens on behalf of the

12      Plaintiffs.

13                  MR. SOMIN:     Ilva Somin on behalf of the

14      Plaintiffs.

15                  MR. HAMILTON:      Eric Hamilton for Defendants.

16                  MS. BAE:     Sosun Bae for Defendants.

17                  MS. BURKE:     Claudia Burke for Defendants.

18                  MR. MILLER:     Justin Miller for the Defendants.

19                  CLERK:     Please be seated.

20                  HON. GARY S. KATZMANN:           Welcome to the United

21      States Court of International Trade.                 At today's hearing, we

22      will hear two motions by Plaintiffs, V.O.S. Selections,

23      Plastic Services and Products, and Terry Precision versus

24      Donald J. Trump and other defendants.

25                  Before we begin, I would say, as many of you know,

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1       that it is indeed appropriate that we are meeting here in a

2       courthouse in New York, a national courthouse with exclusive

3       jurisdiction.    And it is also appropriate to remember that

4       indeed the first federal trial in New York was conducted in

5       front of Judge Duane and there is a nearby street named for

6       Duane.

7                   And it is also important to remember in terms of

8       the history that Alexander Hamilton lived much of his life

9       as an adult in New York and worked in New York and as

10      Secretary of the Treasury was very much concerned with

11      questions of trade and constitutional governance.                 And his

12      report on manufacturers is still cited and referenced to

13      this day.

14                  Now, today's hearing will address two motions, as

15      you well know. The first is a motion for preliminary

16      injunction filed on April 18th, 2025.               The second is a

17      motion for summary judgment filed on the same day.                 Both

18      motions involved Plaintiffs' challenges to the present

19      imposition of tariffs under the International Emergency

20      Economic Powers Act, IEEPA of 1977.

21                  This particular action involves challenges to two

22      recent executive orders.        The President imposed Executive

23      Order 14257 entitled Regulating Imports With a Reciprocal

24      Tariff to Rectify Trade Practices That Contribute to Large

25      and Persistent Annual United States Goods Trade Deficits on

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1       April 2nd, 2025.

2                   The order states that, "Underlying conditions,

3       including a lack of reciprocity in our bilateral trade

4       relationships, disparate tariff rates and non-tariff

5       barriers, and U.S. trading partners' economic policies that

6       suppress domestic wages and consumption, as indicated by

7       large and persistent annual U.S. goods trade deficits,

8       constitute an unusual and extraordinary threat to the

9       national security and economy of the United States. That

10      threat has its source in whole or substantial part outside

11      the United States in the domestic economic policies of key

12      trading partners and structural imbalances in the global

13      trading system."

14                  The President further stated, "It is the policy of

15      the United States to rebalance global trade flows by

16      imposing an additional ad valorem duty on all imports from

17      all trading partners except as otherwise provided herein.

18      The additional ad valorem duty on all imports from all

19      trading partners shall start at 10 percent and shortly

20      thereafter, the additional ad valorem duty shall increase

21      for trading partners enumerated in Annex I to this order at

22      the rates set forth in Annex I to this order."

23                  The President subsequently issued Executive Order

24      14266 on April 9th, 2025 entitled Modifying Reciprocal

25      Tariff Rates to Reflect Trading Partner Retaliation and

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1       Alignment.     He stated that, "The Council Tariff Commission

2       of the People's Republic of China announced that, in

3       response to the Executive Order dated April 8, 2025, an 84

4       percent tariff would be imposed on all goods imported into

5       the PRC originating from the United States."               And that --

6       this is the President's quote, "I have determined that it is

7       necessary and appropriate to address the national emergency

8       declared in Executive Order 14257 by modifying the

9       Harmonized Tariff Schedule of the United States and taking

10      other actions to increase the duties imposed on the People's

11      Republic of China in response to this latest retaliation.

12      In my judgment, this modification is necessary and

13      appropriate to effectively address the threat to the U.S.

14      national and economic security posed by the PRC's

15      contribution to the conditions reflected in large and

16      persistent trade deficits, including PRC industrial policies

17      that have produced systemic excess manufacturing capacity in

18      the PRC and suppressed U.S. domestic manufacturing capacity,

19      which conditions are made worse by the PRC's recent

20      actions."

21                   Plaintiffs seek a declaration that IEEPA does not

22      authorize the President's imposition of tariffs on China as

23      well as all trading partners worldwide through these orders.

24                   They accordingly seek a permanent injunction

25      against the order's operation and damages in the amount of

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1       any tariffs collected by Defendants pursuant to the

2       challenged orders.

3                   A three-judge panel has been convened.               And my

4       colleagues are to my immediate left, Judge Jane Restani and

5       to my right, Judge Timothy Reif.            And I am Gary Katzmann.

6       And that three-judge panel was convened because this is an

7       action that raises an issue of the constitutionality of the

8       act of Commerce or proclamation of the President or an

9       executive order or has broader significant implications in

10      the administration or interpretation of the customs laws.

11      And that three-judge panel was convened by the chief judge

12      of the Court.

13                  The Court has already, as you know, denied

14      Plaintiff's application for a temporary restraining order

15      upon determining that Plaintiffs have not clearly shown a

16      likelihood that immediate and irreparable harm would occur

17      before consideration of their motion for preliminary

18      injunction.

19                  The Court now moves to the remaining preliminary

20      injunction and summary judgment motions.              And I would also

21      note just as a matter of housekeeping, as many of you are

22      aware, that there have been other actions filed regarding

23      the executive orders and that in fact next week we will be

24      coming back in a case, State of Oregon et al v. Donald J.

25      Trump and Defendants.      And the argument in that case will be

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1       held on May 21st, Wednesday, at 2:15 involving different

2       executive orders and some different policy justifications.

3                    So we will proceed with the argument and the

4       parties know what the time allocations are.                  We intend to

5       take a break of about five minutes after the arguments have

6       been presented by the Plaintiff and the Defendant.                    I

7       understand that the parties have also reserved time for

8       rebuttal.     And the break will be about five minutes or so.

9                    So let's commence the argument.

10                   MR. SCHWAB:     Thank you, Your Honor.            May it please

11      the Court.     Jeffrey     Schwab on behalf of the Plaintiffs.

12                   The President's imposition of the so-called

13      Liberation Day     Tariffs represents an unprecedented and

14      unlawful expansion of executive authority.

15                   The Defendant's position would allow the President

16      to impose tariffs on any country at any rate at any time

17      simply by declaring a national emergency without meaningful

18      judicial review.      This is not what Congress intended.

19                   There are six ways that the Liberation Day Tariffs

20      are unlawful.     The Court need only accept one of these six

21      reasons to rule in favor of Plaintiffs and enjoin the

22      Liberation Day Tariffs.         First --

23                   HON. GARY S. KATZMANN:           Just to be clear, we are

24      not dealing here with questions regarding efforts to address

25      fentanyl flow into the country.

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1                    MR. SCHWAB:     Correct.        This challenge is simply to

2       the Liberation Day Tariffs, the justification of which was

3       the trade deficit in goods.

4                    HON. GARY S. KATZMANN:           Thank you.

5                    MR. SCHWAB:     The first reason that this Court

6       should enjoin the Liberation Day Tariffs is that IEEPA

7       doesn't authorize the President to impose tariffs at all.

8                    Second, if IEEPA does allow tariffs, it still

9       requires that the President declare an emergency.                   And

10      there's no emergency in this situation.                America's trade

11      deficit and goods is not an emergency.

12                   HON. TIMOTHY M. REIF:           Mr. Schwab, are there

13      judicially manageable standards that the Court can apply to

14      determine whether an emergency is unusual and extraordinary?

15                   MR. SCHWAB:     Well, first of all, Your Honor, I

16      think that the determination of whether something is an

17      emergency is a separate issue from whether something is

18      unusual and extraordinary.           But I think that in this case,

19      even if there are not -- even if the Court can't come up

20      with very specific reason or definitions of what an

21      emergency is, this case is so far outside of what an

22      emergency is and what an unusual and extraordinary threat is

23      that this Court could easily say that it is not an

24      emergency.

25                   HON. TIMOTHY M. REIF:           How would the Court define

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1       that line?     How would the Court draw that line?

2                    MR. SCHWAB:     Well, for one, in the history of

3       IEEPA, in the legislative history, the House Committee

4       Report talks about how they expected the emergencies to be

5       rare, brief, and not of a normal ongoing circumstance.

6       Under those three things, the trade deficit doesn't meet any

7       single one of those.

8                    HON. TIMOTHY M. REIF:           What's the emergency that -

9       - as Nixon declared?        Building, trade deficits, just as we

10      have in this circumstance?

11                   MR. SCHWAB:     No, because that situation involved a

12      specific circumstance that was temporary, which was the

13      United States was coming off of the Gold Standard and the

14      President was concerned about the consequences of that.                     The

15      intention of that was that it would be temporary.

16                   Also subsequently, or at least in 1974 Congress

17      passed the Trade Act which gave the President that specific

18      power that President Nixon used in that case.                  Subsequently

19      when they passed IEEPA, I think it's pretty clear that they

20      weren't intending to also give the President that power

21      because they had already done so.

22                   HON. TIMOTHY M. REIF:           You're referring -- sorry.

23      Go ahead.

24                   HON. JANE A. RESTANI:           Your opponent says that

25      Yoshida dealt with that and said that the 122 was basically

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1       -- their interpretation is 122 applies to non-emergency

2       situations.    And that if it's not an emergency situation,

3       the President is restricted by 122, but not if it's an

4       emergency situation.       They said that's -- that what Yoshida

5       says.

6                   MR. SCHWAB:     A couple of responses to that.

7       First, I don't think Yoshida -- Yoshida involved a different

8       statute.    And so whether -- I don't think Yoshida applies

9       here because we're talking about is IEEPA, not the TWEA.

10                  So I would say first in response to that is IEEPA

11      doesn't authorize tariffs.          Yoshida doesn't apply.           And

12      there's other reasons for that, too.                 The history of IEEPA,

13      as I was mentioning, Congress was very specifically

14      intending to restrict the power of the President after the

15      Presidents had previously in Congress's view abused the

16      power to declare emergencies.            And so Congress was very

17      concerned about expanding Presidential power.                 They wanted -

18      -

19                  HON. JANE A. RESTANI:           Going back to my question,

20      do you think Yoshida actually says that, that 122 applies to

21      non-emergency situations?

22                  MR. SCHWAB:     I think that IEEPA -- IEEPA does not

23      apply to tariffs at all.         I think that 122 is a different

24      question.

25                  HON. JANE A. RESTANI:           Yes, it was my question.

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1                   MR. SCHWAB:     And it would obviously would I think

2       -- I think it -- I don't know if Yoshida says that, but I

3       think even if it does, it doesn't matter in this case.

4                   HON. JANE A. RESTANI:           Thank you.

5                   HON. GARY S. KATZMANN:           Could you give us some

6       help regarding the language in IEEPA and comparing the

7       language in IEEPA to the language in the Trading With the

8       Enemy Act as interpreted by Yoshida?

9                   Now, the language is essentially identical.                    So

10      the language in IEEPA stating the President may regulate

11      importation of transactions and property in IEEPA in which

12      any foreign country or national (indiscernible) has an

13      interest by any person is identical, is it not, to the

14      language in Trading With the Enemy Act.

15                  So why does the Court's analysis of that language

16      in Yoshida apply here where the court in Yoshida found that

17      to impose duties can be to regulate?                 Why do you suggest we

18      come to an opposite conclusion when the statutory language

19      is identical?

20                  MR. SCHWAB:     Well, they're different statutes.

21      They were passed I think 50 or 60 years apart.                 The Supreme

22      Court has warned courts not to interpret Congress's silence

23      to mean acquiescence to a particular court's interpretation

24      of language.    And I think that if -- so I think the response

25      there or the result is that this Court needs to take a fresh

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1       look at what IEEPA means and what the term -- in that case

2       the defendants say that the term regulate includes the power

3       to tariff.

4                    I think that taking a fresh look at that term, the

5       term regulate does not mean the power to tax or to tariff.

6       There are plenty of court cases we cite in our reply brief

7       particularly where the Court has said that the power to

8       tariff or the power to tax and the power to regulate are

9       separate powers.      And of course the Constitution itself

10      authorizes Congress -- gives Congress the power to regulate

11      international and interstate commerce but also has a

12      separate provision that allows Congress to pass tariffs.                     So

13      if regulate always included the power to tariff, then that

14      provision -- those provisions would obviously be redundant.

15      So that's a reason to think that regulate does not include

16      the power to tariff.

17                   And then even if it could, I think looking at the

18      history of IEEPA would show that we shouldn't assume that

19      and we shouldn't conclude that regulate does include the

20      power to tariff because --

21                   HON. JANE A. RESTANI:           Well, I thought Congress

22      knew about Yoshida.        And one of the proposals was to not use

23      that language, use different language.                And they stuck with

24      it.

25                   MR. SCHWAB:     I don't know if that's true or not.

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1       But I still think that, again, even if -- the term regulate

2       --

3                   HON. JANE A. RESTANI:           We know one part.        They

4       knew about Yoshida.

5                   MR. SCHWAB:     Right.       They did know about Yoshida,

6       but they had passed -- during Yoshida they had passed the

7       Trade Act of 1974 which gave the President the power that

8       was at issue in Yoshida.         And so in 1977 when they passed

9       IEEPA, they could have thought, well, Yoshida dealt with

10      this power that we gave the President and so we're giving

11      the President separate powers that doesn't have anything to

12      do with what's in Yoshida.          It's a different act.

13                  And, you know, there -- yeah.

14                  HON. JANE A. RESTANI:           I got your answer.

15                  HON. TIMOTHY M. REIF:           If your thesis is that

16      Congress in passing IEEPA understood that the landscape --

17      the landscape in this situation predominantly reserved to

18      the Article I branch -- had -- in that Article I branch had

19      passed the Trade Act of '74, (indiscernible) pass Section

20      301 the first time in its form at that time and it had

21      passed the balance off payments provision.

22                  If your thesis is that Congress when it enacted

23      IEEPA understood that IEEPA was to occupy only a special

24      part of the playing field involving issues related to unfair

25      trade or balance of payments, why didn't it say it?

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1                   MR. SCHWAB:     Well, I guess I would turn the

2       question around and say if Congress intended IEEPA to

3       include the power to tariff, then why didn't it say it?

4       Because it knew in other -- in previous acts it knew it

5       could say that, and it did.          And so it's unusual to think

6       that having said that the President has these limited powers

7       to tariff with certain procedural requirements that it would

8       allow the President the power to tariff when it doesn't

9       explicitly say that.

10                  And I think another point is that even if you

11      disagree with me about Yoshida, Yoshida is very explicit

12      that it applies to the very specific power to tariff that

13      the President alleged in that case.                  But if the President

14      had alleged the power to tariff at any rate that he wanted,

15      that that would not have been authorized under the TWEA.

16      And so given that Congress wanted to restrict the

17      President's power, it's very strange to conclude that IEEPA

18      would somehow expand the power that was -- that Yoshida said

19      would not have been given to the President.

20                  HON. GARY S. KATZMANN:           So Yoshida states that the

21      declaration of a national emergency is not a talisman

22      enabling the President to rewrite the tariff schedules, as

23      it was not in this case.         That's the Yoshida language.

24                  Is it your position that the challenged orders in

25      this case are actions to rewrite the tariff schedules?

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1                   MR. SCHWAB:     Yes.     The power that the President

2       claims under IEEPA is virtually unchecked.                 Even the limited

3       restrictions that the President acknowledged, like the power

4       -- the requirement that he declare a national emergency, the

5       Defendants in their brief say that the courts can't even

6       review that.     So effectively what the President is saying is

7       that IEEPA gives it a unilateral power, the President

8       unilateral power to impose tariffs on any country at any

9       rate at any time for any reason.             And I think that the facts

10      show that that's what the President thinks he can do because

11      the tariff rates have been changed multiple times since we

12      filed this case.      And our plaintiffs have no certainty when

13      it comes to what the rates are going to be.                 It's very

14      difficult -- this is part of the irreparable harm that they

15      are suffering.     It's very difficult for them to operate a

16      business when they have to make decisions about imports that

17      are going to happen in the future 20, 60, 90 days when we

18      don't know what the tariffs are going to be.                 And that's of

19      course one of the reasons that one person, the President,

20      shouldn't have this unchecked tariff power, is that without

21      any kind of restrictions, it can be changed on a whim.

22                  HON. JANE A. RESTANI:           Can I go back to Judge

23      Reif's question?      You just said that the Government said the

24      declaration of an emergency is unreviewable.                 We have

25      specific language in IEEPA, unusual and extraordinary threat

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1       from outside that causes the President to declare a national

2       emergency.      Is there anything there that gives us a

3       standard?      Is it we can rule against the President if he

4       miscomprehends his authority?              You know, the triumvirate in

5       the cases.      What kind of standard is there if you want us to

6       look at whether there is the unusual and extraordinary thing

7       that caused the emergency?            What do we do?

8                     MR. SCHWAB:     That's a good question, Your Honor.

9       I don't think the Court has to come up with a very precise

10      standard to decide in this case because the fact on the

11      ground is that it's so outside of what an emergency is, it's

12      so outside off what an unusual or extraordinary threat is

13      that the court doesn't --

14                    HON. JANE A. RESTANI:           Well, can I have some

15      words?      You know, you know it when you see it doesn't work.

16      So give me some words.

17                    MR. SCHWAB:     That's not what I'm saying.              So in

18      the legislative history I think I mentioned that there was

19      the three parts about rare, brief, and not a normal ongoing

20      circumstance.      I know those aren't precise terms, but I

21      don't think that the trade deficit fits any one of those

22      three terms.

23                    HON. JANE A. RESTANI:           So you're saying the

24      President -- I don't know what the standard is.                    Totally

25      misunderstood what the situation was?                  I mean, what is the

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1       standard?

2                    MR. SCHWAB:     I think another thing that the Court

3       could do is just look at general definitions of what an

4       emergency is.     And so, for example, if you look at

5       definitions --

6                    HON. JANE A. RESTANI:           But you keep going back to

7       the facts.     I'm looking for a legal standard.

8                    MR. SCHWAB:     I understand that, Your Honor.                 And I

9       guess my point is that I'm litigating the facts of this

10      case, and I think that it's so outside of what is normally

11      considered an emergency or an unusual circumstance.

12                   I guess what I would say is that this Court -- I

13      am asking this Court to be an umpire and call a strike.                       And

14      you're asking me, well, where is the strike zone?                   Is it at

15      the knees or slightly below the knees?                And I'm saying it's

16      a wild pitch and it's on the other side of the batter and

17      hit the backstop, so we don't need to debate the difference

18      between the strike zone at the knees or slightly below.

19                   HON. GARY S. KATZMANN:           You cite, Counsel, you

20      note that Judge Arthur Garrity's reasoning under Beacon

21      Products v. Reagan case, that to address in that case the

22      claim that Nicaragua does not pose an unusual and

23      extraordinary threat to the United States would be an

24      imprudent exercise of judicial review because in effect such

25      review would require the Court to assess the wisdom of the

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1       President's judgment concerning the nature and extent of

2       that threat, a matter not susceptible to judicially-

3       manageable standards.        My colleagues have invoked that

4       phrase, judicially-manageable standards.                    Did that opinion

5       get it wrong?     And can we rule in your favor on the unusual

6       and extraordinary point without diverging from its

7       reasoning?

8                    MR. SCHWAB:     I think so.         And in part because,

9       again, this is so far outside of what is unusual and

10      extraordinary.     And that is I think that courts have -- even

11      when there might be a political question, courts have a role

12      of sort of keeping the emergency or the unusual and

13      extraordinary threat within the range of what is normally

14      considered or should be considered an unusual or

15      extraordinary threat.

16                   We cite some cases from the Supreme Court about --

17      on the political question about whether the court -- dealing

18      with issues of whether a war -- war is declared.                     And there,

19      the court says, well, although it's a political question, we

20      can still decide whether it actually is a declared war.                       And

21      I think that is what we're saying.               We're not asking the

22      Court to second guess a close question of whether something

23      is an emergency or not.         We're saying, well, when it's

24      clearly not an emergency, this Court can still say we're not

25      going to second-guess the President, but in this case it's

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1       so far outside of what is considered an emergency that we

2       have to stop you.       Because otherwise the result would be

3       that there would be no limits on what the President can do

4       under IEEPA.     If there's no -- if the court can't do --

5                   HON. TIMOTHY M. REIF:           Let me ask you, what about

6       the congressional limits?         There are opportunities for

7       Congress to act.       The Senate attempted to do so.             I think it

8       was last week.     Isn't that sufficient for control of the

9       President's authority?

10                  MR. SCHWAB:     It's not sufficient for a couple of

11      reasons.    First, Congress can always act when the President

12      does something that it doesn't like.                 And so that can't be a

13      reason why the court can't intervene in a case.

14                  Second, I think it's important to note that

15      originally IEEPA allowed Congress to act concurrently, which

16      would mean that they wouldn't -- they could act without the

17      executive veto.       That was struck down by the Supreme Court I

18      think in 1981.     And so now in order to act, Congress has to

19      act with a veto-proof majority, which is of course extremely

20      difficult to do, especially now.

21                  And so effectively Congress is not going to be

22      able to really rein in the power of the President.                   And

23      that's exactly why this Court should act.

24                  HON. TIMOTHY M. REIF:           So that should be in our

25      decision, that because Congress won't be able to actually

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1       enact a concurrent resolution, this Court should say that

2       therefore that restriction in IEEPA is not meaningful?

3                   MR. SCHWAB:     No.     I just -- my point is that I

4       don't think that just because Congress can act, something

5       that Congress can always do no matter what the President

6       does, just because he can act is not a sufficient reason why

7       this Court does not have the authority to act itself.

8                   HON. GARY S. KATZMANN:           So looking at Yoshida, the

9       court referenced the potential role of Congress.                  And as you

10      note, that role has been substantially diminished arguably

11      in the aftermath of Chadha and the elimination of the

12      legislative veto.

13                  So can you speak to that, sort of the impact --

14      you've begun to talk about it -- of Chadha's elimination of

15      the legislative veto.       And does that also suggest that

16      perhaps Yoshida should be revisited in light of the change

17      of the dynamic, potential dynamic between the congress and

18      the executive?

19                  MR. SCHWAB:     Well, yes.         I think that's another

20      reason why this Court need not rely on Yoshida.                  It's a

21      different act.    And subsequent to Yoshida and the passage of

22      IEEPA, the legislative veto is no longer allowed.                  That

23      significantly changes the dynamic.              That's another reason to

24      be skeptical of the broad assertion of power by the

25      President because it's -- there's even less check than there

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1       was prior when it was passed.            So I think the Court should

2       be more discerning and more active I guess in adjudging

3       whether the President has overstepped his authority.

4                   HON. JANE A. RESTANI:           While we're giving you

5       arguments, I haven't heard you say anything about non-

6       constitutional delegation of tariff-making authority.                      I

7       don't know that I heard the unconstitutional out of your

8       mouth.

9                   MR. SCHWAB:     You're right, Your Honor.              I didn't

10      get to that.    I think I started -- and I'm happy to answer

11      questions, so I'm glad that you asked that.                 Yes.

12                  So our position is if this Court were to accept

13      the position of the government that the President has this

14      virtually unchecked power to unilaterally issue tariffs

15      under IEEPA on any country, at any rate, at any time for any

16      reason as he has done, then that would be an

17      unconstitutional delegation of Congress's power.

18                  There are two arguments that we have sort of

19      related to that.      One is the Major Questions Doctrine.                     The

20      Major Questions Doctrine requires Congress to speak clearly

21      when it delegates a power of vast economic and political

22      significance.    I think it's pretty clear that the power to

23      unilaterally tariff any country at any rate is of vast

24      economic and political significance.                 And so the question is

25      whether Congress spoke clearly in IEEPA to give the

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1       President that power.       That's what we've been debating.                 It

2       clearly has not because it didn't say that specifically.

3       And we've already talked about many of those reasons.                      And

4       therefore under the Major Questions Doctrine, this Court

5       should be very skeptical and say that Congress did not give

6       the President that power.

7                   HON. GARY S. KATZMANN:           One of the amici briefs

8       discussing the Major Questions Doctrine references not only

9       the impact, the economic impact for example, but also the

10      role of history.      Can you speak to that?

11                  MR. SCHWAB:     Well, I think we did speak a little

12      bit about history.      I think I talked about the history of

13      IEEPA itself as something that Congress was intending to

14      restrict executive power.         I think that goes to the major

15      question of whether Congress spoke clearly.                 And so I think

16      that's another reason under the Major Questions Doctrine to

17      reject the President's assertion of power under IEEPA given

18      that history.

19                  HON. JANE A. RESTANI:           Talking about major

20      questions, if we're going to say, well, that's a reason to

21      not pay attention to Yoshida because now we have the Major

22      Questions Doctrine, is the Major Questions Doctrine actually

23      something really new?

24                  MR. SCHWAB:     I don't think that the Court would

25      say that it's new, but I think the Supreme Court has spoken

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1       a little more clearly on the Major Questions Doctrine in

2       recent years.    And so I think that's a reason for this Court

3       to take notice of that and try to apply the Major Questions

4       Doctrine in a way that's consistent with what the Court has

5       said in recent years.

6                   HON. JANE A. RESTANI:           Sorry if I stepped on your

7       --

8                   HON. GARY S. KATZMANN:           No, that was my question

9       actually.

10                  HON. TIMOTHY M. REIF:           To seek to distinguish

11      Yoshida with respect to the Nixon administration's move to

12      close the gold window, can you talk a little bit more about

13      that particular distinction and its relationship to the ten

14      percent surcharge that was imposed at the time?                  The two

15      appear to have come from different places.                 And further,

16      it's not clear that the Nixon administration was clear that

17      the surcharge would apply for only a certain number of

18      months.

19                  MR. SCHWAB:     Again, I think that there is a

20      distinction because they're different statutes.                  The history

21      I think in context means that it's not clear that IEEPA

22      means the exact same thing as the TWEA.

23                  And I think what's -- in Yoshida I think what the

24      court was saying is that it wasn't clear that the Nixon

25      administration had overturned Congress's intent because it

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1       stayed within the lines, it didn't exceed the limits of

2       tariff --

3                      HON. JANE A. RESTANI:           You mean it stayed within

4       Column Two?

5                      MR. SCHWAB:     Yes.

6                      HON. JANE A. RESTANI:           Okay.    Of the HTSUS?

7                      MR. SCHWAB:     Yes.     Yes, exactly.

8                      HON. JANE A. RESTANI:           Okay.

9                      MR. SCHWAB:     We don't have that situation here

10      because the President has obviously asserted a power to

11      impose a tariff rate on whatever he wants.                    Yes, he has

12      stayed the retaliatory tariffs for 90 days, but that doesn't

13      mean that they're going away.               They can be revived at any

14      time.       And those tariff rates are vastly higher than

15      anything Congress has authorized or considered.                     And so I

16      think that's a reason to be -- another reason to be

17      skeptical of the comparison between Yoshida in this case.

18                     HON. GARY S. KATZMANN:           But looking at the

19      language in Yoshida and also referencing IEEPA -- and this

20      takes us to Section 1702, related to this -- of actions to

21      emergency, following up on the questions of my colleagues

22      and to the question how similar is the national emergency

23      that President Trump declared relating to persistent trade

24      deficits to the national emergency that President Nixon

25      declared in Yoshida, the court in Yoshida held that

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1       President Nixon's surcharge, and this is the quote, "Had a

2       direct effect on our nation's balance of trade and in turn

3       on its balance of payments deficit and its international

4       monetary reserves" and that they "Bore an eminently

5       reasonable relationship to the emergency confronted."                      Why

6       should we find differently here?

7                   MR. SCHWAB:     Well, because the President's

8       assertion is the existence of a trade deficit that has

9       existed for 50, 60 years, basically most of America's

10      history post-World War II.          The Defendants point to no

11      specific thing that has somehow shifted that ongoing

12      circumstance.

13                  HON. JANE A. RESTANI:           I think that's a different

14      question.    You're talking now about extraordinary, unusual,

15      national emergency.       I think the question related to the

16      relationship between the duty and the deficit.                 And

17      apparently Yoshida found there was a relationship between

18      the surcharge and the balance of payments.                 And I think the

19      question was why was this any different.

20                  MR. SCHWAB:     I'm sorry, Your Honor.            I think I did

21      misunderstand your question.

22                  HON. JANE A. RESTANI:           Okay.

23                  MR. SCHWAB:     I do think it's different.               I think

24      if we look at the rates that the President has set, they

25      don't seem to -- they don't appear to be related to anything

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1       having to do with the deficit.               I forget the exact way that

2       they calculated the retaliatory tariffs, but it was a very

3       simple I think mathematical formula.                    It didn't really have

4       anything to do with the justification that the President has

5       given for them.       And so I do think that that situation is

6       different in this case.

7                      HON. JANE A. RESTANI:           Yeah.      I'm not so sure how

8       different it is.       You know, what President Nixon was doing

9       was part of a three-part strategy to -- all having to do

10      with the run on Fort Knox, really.                 And this was part of the

11      three-party strategy.          I am not sure how closely related it

12      was there, either.

13                     MR. SCHWAB:     Well, again, you know, that had to do

14      with a specific -- the gold -- you know, coming off the gold

15      standard, a specific event that is only going to happen one

16      time.       There's no specific event in this case that said oh,

17      well, you know, yes we have a trade deficit, but this one

18      thing happened, or we did this one thing and that's going to

19      change everything and so we need to act.                      There's nothing

20      like that.       It's just we've had a trade deficit.

21                     And even -- it's not even the most significant

22      trade deficit we've had.            I think we point out in our reply

23      brief that       at least as a percent of GDP, the trade deficit

24      hit its peak in 2006.          And since then it's been below that.

25      So it's not the most -- you know, it's not the highest trade

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1       deficit that we've ever had.

2                      So there's nothing specific that the Defendants

3       point to that's like, well, this is the reason that we have

4       to do this.       This thing happened, we've got to -- it's just

5       we've had a trade deficit, that thing -- you know, we've had

6       a trade deficit for 50, 60 years.                 There's nothing to

7       distinguish that from 20 years ago or 25 years ago or

8       whenever.

9                      HON. JANE A. RESTANI:           He can reserve some time if

10      he wants.

11                     MR. SCHWAB:     Yes.

12                     HON. GARY S. KATZMANN:           Any other -- anything else

13      that you would like to say?             I know you've reserved time.

14                     MR. SCHWAB:     I did reserve time, and I will do

15      that.       You know, unless there's other questions, I would

16      just sort of like to reiterate my main point, which is that

17      there are six reasons -- I think we went over all six, but

18      let me just go through the list really quickly so it's

19      clear.

20                     The first is IEEPA doesn't authorize tariffs at

21      all.     The second is that even if it does, it requires that

22      there be an emergency.           There is no emergency here. The

23      third is that it requires an unusual and extraordinary

24      threat.       The trade deficit isn't unusual, extraordinary, or

25      a threat.       The fourth is the Major Questions Doctrine.

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1       Congress has to speak clearly when granting or delegating

2       power of vast economic and political significance.

3       Obviously that includes the power to tariff any country at

4       any rate.    And Congress did not speak clearly under IEEPA to

5       give the President that power.            Fifth is the nondelegation

6       doctrine, which requires if -- I'm sorry.                  If the President

7       -- if we accept the President's assertion of power, that he

8       has effectively unfettered discretion to issue tariffs at

9       any rate at any time, that clearly would violate the

10      nondelegation doctrine.        And then finally, constitutional

11      voidance.    The Court should avoid issues of, you know,

12      ruling -- interpreting a statute that is clearly

13      unconstitutional.       And so the court could use --

14                  HON. TIMOTHY M. REIF:           Mr. Schwab, before we let

15      you go, on your fourth point on the Major Questions

16      Doctrine, IEEPA reads, "Any unusual and extraordinary threat

17      to the national security, foreign policy, or economy of the

18      United States."       That's pretty clear it seems.

19                  And then in Section 203 we get "Regulate

20      importation or exportation."           So why is that not clear?            Why

21      was Congress not being clear in the breadth of power it was

22      delegating to the President?

23                  MR. SCHWAB:     Well, because the President is

24      asserting the power to import -- I'm sorry, to tariff

25      imports.    The term regulate does not clearly imply that

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1       power.      I talked a little bit about that.                 In particular --

2                     HON. TIMOTHY M. REIF:           What would they have been

3       thinking of other than tariffs?

4                     MR. SCHWAB:     Well, lots of things.              There could be

5       increased inspections based on certain countries -- concerns

6       about certain countries or concerns about specific products.

7       It doesn't just -- regulate can mean a lot of different

8       things.      And it doesn't just mean -- obviously I don't think

9       it means tariff or tax at all.              But it doesn't mean --

10                    HON. TIMOTHY M. REIF:           You just contradicted

11      yourself.      If regulate can mean a lot of different things,

12      it could mean tariffs.          Right?

13                    MR. SCHWAB:     No.     It means a lot of different

14      things, but it doesn't mean tariffs.                   I think that's pretty

15      clear from --

16                    HON. TIMOTHY M. REIF:           It doesn't mean tariffs

17      because of Article 1, Section 8?               Why does it not mean

18      tariffs?

19                    MR. SCHWAB:     Well, because the power to regulate

20      is not the same as the power to -- the power to regulate a

21      product or the importation of a product is different than

22      the Government's power to tax the importation of that

23      product or to tax the sale of a product.                     Those are two

24      different things.      Regulate implies, you know, limiting or

25      prohibiting or having some sort of process that checks a

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1       product for safety, things like that.                Taxes or tariff tax

2       or tariff is we're going to raise revenue because you've

3       imported or sold or -- those are -- I think those are two

4       distinct concepts.

5                   HON. GARY S. KATZMANN:           Could I also ask you as

6       we're also considering a motion for summary judgment, in

7       your view are there any actual issues, material issues in

8       dispute here so that we could not move to summary judgment?

9                   MR. SCHWAB:     No.     We don't think there are any

10      disputes of fact, which is why we've phrased our motion sort

11      of as a two-part either motion for preliminary injunction or

12      a motion for summary judgment.            The only real difference is

13      whether there's disputes of fact and the different standards

14      of likelihood of success versus actual success.                  We think

15      that we not only have shown a likelihood of success, but we

16      have shown actual success.          And because there's no material

17      disputes of fact, the Court could if it wanted to grant us

18      summary judgment and enter a permanent injunction instead of

19      just a preliminary injunction and then later litigate the

20      summary judgment motion.

21                  HON. GARY S. KATZMANN:           And then going back to

22      Yoshida for a moment, which as you know, reversed the great

23      wisdom of the predecessor court here.                And one of the

24      judges, Judge Maletz, wrote a very thoughtful concurrence.

25      And it was described as a very thoughtful concurrence.                     And

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1       I think he was building upon his own understanding of the

2       way Congress works and legislation works.

3                   And the court, the predecessor of the federal

4       circuit noted that this was a very thoughtful analysis.                    But

5       the court said -- and I just want to return again to the

6       whole question of separation of powers -- said that the

7       customs court perceived a constitutional flaw in Section

8       5(b) of the TWEA.       If it were interpreted as permitting the

9       surcharge here, viewing such interpretation as a denial of

10      the people's right to a government of separated powers, that

11      Congress's delegation unless restricted to licensing, would

12      be a violation of the Delegation Doctrine.

13                  What the Court of Appeals said was whatever may be

14      the current viability of that doctrine, we find no conflict

15      with the TWEA as applied to the proclamation.                 It cannot be

16      lightly dismissed that (indiscernible) relation to tranquil,

17      non-emergency matters, the more modern view of the

18      delegation doctrine was stated by the Supreme Court in

19      American Power.       A move for prompt action, another essential

20      nature or natural emergency precludes the otherwise

21      (indiscernible) to provide a requirement for prior hearings,

22      extensive fact-finding.

23                  Going back in history.           It's a bit of archaeology.

24      Wondering if you could comment on that -- those passages by

25      the Federal Circuit predecessor.

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1                   MR. SCHWAB:     I guess what I would say is that

2       although we have raised a non-delegation argument, we've

3       raised other arguments, the Court doesn't even need to get

4       to that.    But I think that if the Court were to interpret

5       the IEEPA as the Defendant claims with this unbridled,

6       unlimited power to impose tariffs on any country at any time

7       at any rate, then I think that would raise a nondelegation

8       argument.    It would be a power far in excess of what the

9       Court was considering in Yoshida.              And I'm at a loss to

10      really think of many assertions of Presidential or executive

11      power under a statute that exceed this power that have been

12      considered by courts since Schechter Poultry.

13                  So I would say that if the Court thinks that the

14      Defendant's interpretation of IEEPA is right, then there is

15      a nondelegation problem and it should find that this

16      violates -- this is unconstitutional under the nondelegation

17      doctrine.

18                  HON. GARY S. KATZMANN:           Thank you.        Any questions?

19                  HON. JANE A. RESTANI:           No.

20                  HON. GARY S. KATZMANN:           No.     Thank you.

21                  MR. SCHWAB:     Thank you.         I'll reserve the rest of

22      my time.

23                  HON. GARY S. KATZMANN:           Right.        Thank you.

24                  MR. HAMILTON:      Good morning, Your Honors, and may

25      it please the Court.

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1                   This Court should deny Plaintiff's motion and

2       enter judgment for Defendants.

3                   Last Month, President Trump found that the effects

4       of the persistent trade deficit on this country --

5                   HON. GARY S. KATZMANN:          Before you -- you are Mr.

6       Hamilton.

7                   MR. HAMILTON:     I am, yes.

8                   HON. GARY S. KATZMANN:          Not Alexander Hamilton,

9       but Eric Hamilton.

10                  MR. HAMILTON:     Yes.      Eric Hamilton.       Thank you,

11      Your Honor.

12                  As I was saying last month, President --

13                  HON. TIMOTHY M. REIF:          Before you begin, Mr.

14      Hamilton, has the President transmitted his report to the

15      Congress under Section 204(b)?

16                  MR. HAMILTON:     I do not know, Your Honor.

17                  HON. TIMOTHY M. REIF:          Does one of your colleagues

18      know?

19                  MR. HAMILTON:     I'm seeing yes from USTR.

20                  HON. TIMOTHY M. REIF:          And it's a public report?

21                  MR. HAMILTON:     Yes, it is.

22                  HON. TIMOTHY M. REIF:          Okay.    Thank you.

23                  MR. HAMILTON:     On April 2nd the President signed

24      an executive order finding that the trade deficit and its

25      effect on the economy had reached a level of a national

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1       emergency.

2                    Our supply chain is vulnerable because of this

3       Country's dependence on --

4                    HON. JANE A. RESTANI:         Is that actually the

5       biggest trade deficit that had ever existed?

6                    MR. HAMILTON:    I think that last year's might have

7       been less than the years before -- the year before.                  But

8       what the executive order notes is that in the last five

9       years, the trade deficit has increased by 40 percent.                     And

10      it isn't just the existence of a trade deficit that is

11      justifying the declaration of a national emergency.

12      Instead, it is the cumulative effects of the persistent

13      trade deficit on the nation's economy and the fact that the

14      trade deficit has threatened the supply chain, it has caused

15      a state of affairs where the National Defense Industrial

16      Base is not adequately prepared to meet the challenges that

17      the country faces in this --

18                   HON. JANE A. RESTANI:         If we were not going to

19      accept the Government's argument that a declaration of an

20      unusual and extraordinary situation from an outside threat

21      causing an emergency was an unreviewable question, what

22      standard could be applied?

23                   MR. HAMILTON:    Well --

24                   HON. JANE A. RESTANI:         I mean, there are some

25      cases out there that have some kinds of standards for

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1       reviewing executive action of an emergency-type nature.

2                   MR. HAMILTON:     I am not aware of one in the

3       emergency context, at least since Baker v. Carr.                 My friend

4       on the other side cites some case law that he says involved

5       the review of emergencies.         I believe those cases preceded

6       Baker V. Carr's creation of the modern political question

7       standard.

8                   If the Court did find that it could review that

9       though, I would --

10                  HON. JANE A. RESTANI:          Let's assume it's not a

11      political question or that there's ways to view it as not a

12      political question.     Then what's the standard?

13                  MR. HAMILTON:     If that were the case, then I think

14      the Court would have to grapple with what unusual and

15      extraordinary means.      Because that is what the -- that's of

16      course an element of IEEPA.         And my friend on the other side

17      doesn't cite any dictionary --

18                  HON. JANE A. RESTANI:          You don't want to go to

19      something like the President totally grossly misconstrued

20      his authority, that kind of standard?

21                  MR. HAMILTON:     We still have the -- we still thin,

22      that Maple Leaf is of course the right standard and that,

23      you know, as that court recognizes, it has to be a clear

24      misconstruction of the governing statute for the court to

25      determine that the President did not exercise an IEEPA

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1       authority correctly.      And that standard remains especially

2       applicable here, as Maple Leaf explains, that standard

3       applies in international trade controversies of a highly

4       discretionary kind involving the President and foreign

5       affairs.     All three of those elements are checked by the

6       President's IEEPA executive order.

7                    HON. JANE A. RESTANI:         Does it apply to both parts

8       under viewing IEEPA as applicable to tariffs as well as the

9       extraordinary and unusual threat to national security?                    Does

10      that standard apply to both parts?

11                   MR. HAMILTON:    It would.        I don't see anything in

12      Maple Leaf that would give a reason to carve up IEEPA and

13      find it appliable to some parts of the court's statutory

14      interpretation but not others.

15                   But since no one has yet cited a dictionary

16      definition for unusual or extraordinary, I thought I would

17      offer one.

18                   Unusual just means not usual.           That's the Merriam-

19      Webster dictionary definition.           And extraordinary is going

20      beyond what is unusual, regular, or customary.                That fits

21      with the state of affairs that this executive order

22      describes.     It explains again the cumulative effects of the

23      trade deficit, the fact that other countries have policies

24      within their countries that suppress U.S. exports and how

25      over time we are now in a situation where the supply chain

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1       is threatened.     The executive order notes that the COVID-19

2       pandemic exposed some of those supply chain weaknesses.                     All

3       of us remember struggling to find --

4                    HON. TIMOTHY M. REIF:         Isn't that what Congress

5       created Section 301, the balance of payments section, other

6       trade remedies to address?

7                    MR. HAMILTON:    No, Your Honor.             Congress enacted

8       IEEPA after it enacted 301.         And when it enacted IEEPA, it

9       carried over the regulate importation term that appeared in

10      the TWEA.     And it did so against the backdrop of Yoshida,

11      the legislative record materials from IEEPA's enactment

12      referenced the Yoshida case and so Congress had to

13      understand that through its decision to continue to have a

14      regulate importation power in the U.S. Code for the

15      President, that would include a tariff power.                  This is also

16      an argument --

17                   HON. TIMOTHY M. REIF:         So the President's

18      application of IEEPA should be considered without regard to

19      the fact that Congress has occupied this space in other

20      respects such as Section 301 or the balance of payments

21      provision.

22                   MR. HAMILTON:    That's right.         And actually the

23      U.S. Supreme Court has spoken on this quite recently in

24      Trump v. Hawaii.      That's a case where plaintiffs challenged

25      the President's exercise of a broad immigration authority.

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1       It's 8 U.S.C. 1182(f) power to suspend the entry of aliens

2       based on the President's determination that those aliens'

3       entry into the United States is against the national

4       interest.

5                     And an argument there was that the specific policy

6       that the President was trying to address, which were

7       problems with information sharing within countries, the

8       Plaintiff said that's a problem that another statute in the

9       INA already dealt with.       And that would be a reason to

10      narrow the --

11                    HON. TIMOTHY M. REIF:        It's not just the statute,

12      right?      It's the constitution provides primary authority in

13      this area to the Congress under Article 1, Section 8 in two

14      different clauses.      Isn't that the case?              That's not similar

15      to the case you just cited.

16                    MR. HAMILTON:   Well, but it's a power that

17      Congress has then delegated to the President through

18      statutes like 232, IEEPA, and --

19                    HON. TIMOTHY M. REIF:        Could the President declare

20      an emergency, comparable to the documents that he used here,

21      citing only massive dumping and subsidized imports?

22                    MR. HAMILTON:   I beg your pardon, Your Honor?

23                    HON. TIMOTHY M. REIF:        Could the President declare

24      an emergency on the basis not of anything other than dumped

25      and subsidized imports and utilize the powers of IEEPA to

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1       bypass those two statutes and apply tariffs separately?

2                   MR. HAMILTON:      I think it's possible, Your Honor.

3       And a relevant previous IEEPA executive order, I would note,

4       is Executive Order 13222.         This was an executive order

5       signed in 2001.       And there was an expiring act, the Export

6       Administration Act of 1979.          And the President signed an

7       executive order that under IEEPA that continued that act.

8                   HON. TIMOTHY M. REIF:           I don't think that example

9       addresses this circumstance.           We have an ongoing statute,

10      antidumping and countervailing duty laws.                  President issues

11      an executive order saying there's an emergency with respect

12      to dumping and subsidized imports.              And I'm going to apply

13      tariffs of whatever decision the President were to make.

14      The President could do that?

15                  MR. HAMILTON:      I think he could.            This is I think

16      though an even clearer case          where we have the President

17      identifying both domestic -- you know, a domestic situation,

18      affecting the economy and national security, but also

19      multiple causes outside the United States, including the

20      policies of foreign countries that are --

21                  HON. TIMOTHY M. REIF:           That have been specifically

22      addressed by Congress in statute and in its legislative

23      history with respect to Section 301 of the Trade Act of

24      1974, no?    Lack of reciprocity, disparate tariff rates, non-

25      tariff values, large and persistent trade goods deficits,

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1       all the things that previous Presidents have used Section

2       301 to address.

3                      MR. HAMILTON:   Well, I don't know that 301 --

4                      HON. TIMOTHY M. REIF:        The President tied it

5       directly to the 2025 national trade estimate.                 I understand

6       we have some distinguished guests from the USTR here who

7       work hard to prepare that report every year.                 The President

8       tied his decision here specifically to the NTE report.

9       Isn't that where Section 301 from the 1988 act, those two

10      statutes came out of the same place.

11                     HON. TIMOTHY M. REIF:        And yet when Congress then

12      enacted IEEPA, it didn't create any exception for things

13      that could arguably be covered by 301.               IEEPA does have

14      exceptions.       1702, it has an entire subsection devoted to

15      exceptions.

16                     So Congress was mindful of the need to carve out

17      certain types of possible exercises of IEEPA authority.                    But

18      it didn't do anything with respect to --

19                     HON. TIMOTHY M. REIF:        So how does the Court

20      determine when those statutes are being used in a normal

21      circumstance versus an unusual and extraordinary

22      circumstance?       How does this Court deal with that particular

23      line?       We gave your colleague on the other side some efforts

24      to try to help us with that.           How would you answer the

25      question?

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1                   MR. HAMILTON:      Well, Your Honor, our answer ends

2       with the political question doctrine.                 Baker v. Carr says

3       that the lack of judicially-discoverable and manageable

4       standards for resolving a question is a non-justiciable

5       political question.

6                   HON. TIMOTHY M. REIF:           So then the unusual

7       extraordinary standard is non-justiciable?

8                   MR. HAMILTON:      That's right.           That's right.       It is

9       the sort of question that Congress intended for the

10      political branches to resolve.            We think that's clear from

11      1702 and the National Emergencies Act itself.                 But that

12      understanding is confirmed by the fact that Congress was

13      sensitive to a need to create some sort of review process

14      for the exercise of IEEPA authorities, which is why it

15      created a congressional review scheme that fast-tracks the

16      consideration of house-senate resolutions that, you know,

17      through that process --

18                  HON. JANE A. RESTANI:           My colleagued said that

19      that's just not the same thing it was when it was enacted.

20                  MR. HAMILTON:      I disagree.           In fact, in 2023 this

21      process worked.       The COVID-19 national emergency declaration

22      was terminated in 2023 through the congressional review

23      process for legislative review of national emergency

24      declarations.     And Congress has even considered using this

25      authority in connection with the national emergency that

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1       President Trump declared on April 2.                A vote was taken in

2       the senate on that national emergency and it failed.

3                    HON. JANE A. RESTANI:         Can I ask a question about

4       -- I am confused by Yoshida in one of your arguments.                     One

5       of your arguments is that the balance of payments statute,

6       Section 122, really is for non-emergency situations and not

7       emergency situations.        I think that was in one of your

8       briefs.     And I was reading this Footnote 33 of Yoshida.                  And

9       it says, well, we don't really care whether there is an

10      emergency or not.     Everybody knows that "A surcharge imposed

11      after January 3rd, 1975 must of course comply with the

12      statute now governing such action, referring to the

13      limitations in 122."

14                   I couldn't -- I was having trouble squaring that

15      with the more general reading on Page 30 of Yoshida.                  Can

16      you help me with Note 33?

17                   MR. HAMILTON:     I don't remember that footnote

18      specifically.     But I think our point here is that the --

19                   HON. JANE A. RESTANI:         Everybody is going to read

20      this while we have the break, and then somebody will tell me

21      the answer during the rebuttal.            Okay.      So you don't

22      remember 33.     All right.

23                   MR. HAMILTON:     Well, I think I have something

24      responsive I can say.        I think the point we were trying to

25      make in our brief is that IEEPA is different than the

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1       statute enacted in the mid-seventies.                You know, there's

2       this whole checklist of things that the President has to

3       find, a situation that has to exist.                There has to be an

4       unusual and extraordinary threat.             Source has to be in whole

5       or substantial part outside the United States.                Has to be a

6       threat to - -

7                    HON. JANE A. RESTANI:         The balance of payments was

8       specifically dealt with in 122.            Right?

9                    MR. HAMILTON:    It was.

10                   HON. JANE A. RESTANI:         It kind of implied to me

11      that congress didn't think it was an ongoing or qualified as

12      unusual and extraordinary.         Your argument seems to be it's

13      unusual and extraordinary at some point where it falls off

14      the cliff.

15                   MR. HAMILTON:    Well, so again, we just have

16      trouble reconciling that with the fact that Congress enacted

17      IEEPA just a few years later.           Talking about Yoshida, it

18      knew that Yoshida existed and yet --

19                   HON. JANE A. RESTANI:         Well, maybe it knew

20      Footnote 33 existed that said we all know now after January

21      3rd, 1975 for balance of payments you must comply with 122.

22      Anyway, that's how I read 33.           You can tell me I've got it

23      all wrong after the break.

24                   HON. GARY S. KATZMANN:         And Counsel, could I

25      return for a moment to what you described as a political

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1       questions issue?

2                   So when we go back and look at the language of

3       1701, right, and it states the authority granted to the

4       President may be exercised to deal with any unusual and

5       extraordinary threat.       That's in the statute, right?

6                   MR. HAMILTON:     Yes.

7                   HON. GARY S. KATZMANN:          So it would be

8       superfluous, would it not or, I mean, what would be the

9       point of having that language in the statute if it were not

10      reviewable by a court?

11                  MR. HAMILTON:     Well, the point would be that it

12      still binds the President.         The President still has to look

13      at and faithfully apply that statute, which is exactly what

14      happened with the executive order that he signed on April

15      2nd.

16                  The executive order notes that there is an unusual

17      and extraordinary threat.        So that is the point, to control

18      the President's exercise of this power.              And it also informs

19      legislative review of any national emergency declared under

20      IEEPA.

21                  HON. GARY S. KATZMANN:          So you're saying there's

22      no role for the courts.

23                  MR. HAMILTON:     Correct.        The exercise of an IEEPA

24      power, declaring a national emergency, determining whether

25      an exercise of IEEPA authority deals with a foreign threat,

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1       those are non-justiciable political questions of the sort

2       that Baker v. Carr identifies as beyond judicial review.

3       They are things for the political branches to resolve.

4                    HON. JANE A. RESTANI:          I'm going to go to the

5       peanut butter situation.         We have a problem with peanut

6       butter.     We have a national shortage of peanut butter.                   And

7       so can the President declare an extraordinary emergency?

8                    MR. HAMILTON:     Well, I think it probably depends

9       on a number --

10                   HON. JANE A. RESTANI:          Do you like peanut butter?

11      There's no limit.       What you're saying is there's no limit.

12                   MR. HAMILTON:     No, no, not at all.            As I said

13      earlier, there --

14                   HON. JANE A. RESTANI:          But it's a political

15      question.     Peanut butter becomes a political question.

16                   MR. HAMILTON:     I disagree, Your Honor.             Again, I

17      think Congress was very clear in setting these standards for

18      the exercise of Presidential power.                  And those standards

19      mean something to the executive branch.

20                   HON. JANE A. RESTANI:          There was never before a

21      shortage of peanut butter.          It's unusual and extraordinary.

22                   MR. HAMILTON:     Perhaps it would be helpful --

23                   HON. JANE A. RESTANI:          Of course it's not an

24      outside threat.       But anyway, that's another matter.

25                   MR. HAMILTON:     Well, I think it depends on what

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1       all is going on, right?        Like part of this executive order

2       discusses the fact that five million manufacturing jobs have

3       been lost in recent decades.           That viewed in isolation might

4       look domestic, but as the excessive order explains, it's

5       because of policies of foreign countries --

6                      HON. JANE A. RESTANI:        Going back to my thing, you

7       believe that situations that exist over time can get to a

8       point where they fall off the cliff and become something

9       that can trigger IEEPA.

10                     MR. HAMILTON:   Absolutely.           And we have previous

11      IEEPA executive orders that fit in that category perfectly.

12      Consider for example EO 13581 from 2011.                   That was an EO

13      declaring that activities of transnational criminal

14      organizations threatened the stability of international,

15      political, and economic systems.             Another is EO 14105 from

16      2023.       There the President concluded that recent

17      advancements in Chinese technology critical to military

18      intelligence and surveillance capabilities merited an IEEPA

19      executive order.

20                     And my friend on the other side cites the Iran

21      hostage crisis IEEPA executive order from 1979.                    But that's

22      an executive order that President Biden on November 1, 2024

23      continued.       So the Iran hostage crisis --

24                     HON. TIMOTHY M. REIF:        None of those -- with

25      respect, none of those engages powers specifically delegated

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1       by the Constitution to Congress.

2                    MR. HAMILTON:    I'm not as familiar with the

3       specific applications of the IEEPA authorities looked like -

4       -

5                    HON. TIMOTHY M. REIF:         But none of the ones that

6       you cited or the Iran Hostage matter deals with the two

7       clauses in     Article 1 Section 8 that are given to the

8       Congress, the power to apply taxes and tariffs and the power

9       to regulate foreign commerce.           You're suggesting that there

10      is nothing different about this executive order and this

11      invocation of IEEPA given that it is squarely in the domain

12      of the Congress.

13                   MR. HAMILTON:    Well, Congress has in multiple

14      statutes delegated that power.           And Yoshida recognizes that

15      there is no constitutional problem with that.                It rejected a

16      nondelegation challenge, it interpreted the exact same words

17      that appear in IEEPA today, regulate importation to

18      encompass that --

19                   HON. GARY S. KATZMANN:         But Yoshida also stated

20      that a finding that the President has the power to impose

21      whatever tariff rates he deems desirable simply by declaring

22      an act of emergency would not only render our

23      (indiscernible), it would (indiscernible) the manifest

24      congressional intent to maintain control over its

25      constitutional power to levy tariffs.

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1                   So the argument is that the (indiscernible) here

2       is what the court warned us against in Yoshida.

3                   MR. HAMILTON:      That language in Yoshida is dicta.

4       And the much newer authority from the U.S. Supreme Court on

5       this issue is Trump v. Hawaii, where it was argued that the

6       problem that the President was attempting to address through

7       the exercise of broad Presidential statutory powers was

8       something that Congress had already legislated on, made a

9       decision about.       And the U.S. Supreme Court refused to

10      consider that as something limiting or making the exercise -

11      -

12                  HON. JANE A. RESTANI:           But no constitutional, you

13      know, Article 1 Section 8.

14                  MR. HAMILTON:      I think Section 8 actually does

15      include immigration authority.            And so the -- we'll confirm

16      that during the break.        But we think Trump v. Hawaii is a

17      very helpful case in this context.

18                  Also wanted to make a few notes on the Major

19      Questions Doctrine.       Judge Restani had a question about the

20      applicability of the Major Questions Doctrine here since, as

21      Your Honor noted, it really was not a new doctrine.                   When

22      the U.S. Supreme Court has talked about this doctrine, as my

23      friend on the other side acknowledged, it has cited cases

24      that preceded the recent innovation of giving this

25      contextual canon of interpretation the Major Questions

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1       Doctrine label.       And in the end, Yoshida is interpreting the

2       same words that appear in IEEPA today.                And nothing about

3       the Major Questions Doctrine labeling this contextual canon

4       that has been understood for some time would change

5       Yoshida's outcome or its binding nature here.

6                   HON. JANE A. RESTANI:           You know, the thing that

7       you have going for your argument about Yoshida is it's the

8       same words in IEEPA although there are so many things that

9       are different in Yoshida.         The tariffs did not go above the

10      congressional limit.       Right?      So that was different.          And

11      you had a situation where -- that was really -- really was

12      extraordinary at the time.          Nobody can argue that it was

13      going on for a long time and then dropped off a cliff.                     It

14      was new.    An extraordinary situation.              I don't think anybody

15      would have argued it was extraordinary.

16                  So I think what you have from Yoshida is your

17      argument that those are the words, look at those words,

18      that's where we come out on the statutory interpretation.

19      And I think that's what you get out of Yoshida because

20      Yoshida itself is a very different context, quite limited.

21      And I think that's what you have from Yoshida.

22                  MR. HAMILTON:      So Yoshida is, as Your Honor noted,

23      interpreting the exact same words that appear here, there is

24      no limitation within IEEPA that Plaintiffs even -- you know,

25      other than the national emergency part --

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1                   HON. JANE A. RESTANI:          Well, you may have 122,

2       which may say basically balance of payments is not a

3       national emergency.     That's how I'm reading Yoshida.               But

4       that was then.    That's the whole problem with Yoshida.                  That

5       was then.

6                   MR. HAMILTON:     And Congress has acted since then.

7       IEEPA follows that.     And it continued the broad authority

8       existing under the TWEA.        But again, I have to highlight the

9       President did find and the current state of affairs with

10      respect to the trade deficit is extraordinary and very

11      problematic as the EO explains.            It's had effects on the

12      economy as well as our national security readiness.                  And the

13      President identifies both recent events and events that have

14      occurred over time in articulating that.

15                  And on top of that --

16                  HON. GARY S. KATZMANN:          Could I -- can I ask you

17      about Executive Order -- following up on this -- 14257.                     And

18      this relates to the relatedness of actions to emergency.

19      And so the Executive Order 14257 for setting the reciprocal

20      tariffs, the President set a 41 percent tariff on the

21      Falkland Islands and a 50 percent tariff on Lesotho.

22                  Additionally, the President imposed tariffs on the

23      British Indian Ocean Territory, which only contains a joint

24      military base and uninhabited islands.              How are these

25      tariffs calculated that help meet the particular national

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1       emergency?

2                    MR. HAMILTON:    So I don't think Plaintiffs have

3       put any of those specific countries into issue.                   But the way

4       the policy works is it sets a ten percent baseline tariff

5       and then there are 57 countries that have an additional

6       higher tariff.     That is calculated by dividing the trade

7       deficit for a particular country by the imports that are

8       received from that country to the United States and then

9       having the resulting ratio.         And the goal of this policy is

10      to stimulate U.S. exports while also decreasing our reliance

11      on imports and creating an environment where the President

12      is able to negotiate trade deals that put our country on a

13      more secure footing going forward.             That's happening right

14      now.     In recent days progress has been announced with China

15      and --

16                   HON. JANE A. RESTANI:         Okay, well, now you're

17      arguing that, hey, this is great policy.                  But we don't deal

18      with policy; we deal with law.

19                   MR. HAMILTON:    We agree.        And to be clear, we

20      think that all of this is a political question as trying to

21      be responsive to Judge Katzmann's question about how the

22      policy worked.     We think that the --

23                   HON. JANE A. RESTANI:         No, you switched to we got

24      a deal from the tariffs themselves effect the balance of

25      payments in the trade deficit and other problems in this

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1       way.    That's a separate question from we've got a deal.                   Do

2       you understand the difference?

3                   MR. HAMILTON:     I think so.           I mean, I think they

4       are related.     But I don't know that the point is material to

5       the resolution of --

6                   HON. JANE A. RESTANI:          Well, I think the point is

7       don't argue policy to the Court.            I mean, that's not our

8       business.

9                   MR. HAMILTON:     I'll return to the Major Questions

10      Doctrine.    The Major Questions Doctrine is inapplicable for

11      many reasons that we identify in our brief.

12                  HON. GARY S. KATZMANN:          Does the Major Questions

13      Doctrine apply to the President?

14                  MR. HAMILTON:     It does not apply to the President.

15      The U.S. Supreme Court has of course decided a number of

16      major questions cases.       It has used terms like

17      administrative agency.       In    Alabama Association of Realtors

18      it just said agency in describing who the doctrine applies

19      to.    Mayes v. Biden in the Ninth Circuit thoroughly

20      considers whether the Major Questions Doctrine applies to

21      the President.     That was a decision vacated as moot, but its

22      analysis we think is very persuasive.

23                  HON. JANE A. RESTANI:          Why wouldn't it apply to

24      the President?     I mean, look, if you say here's an agency,

25      it has an organic statute, it operates in this field.                     Okay,

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1       but Major Questions where, you know, we're not going to

2       assume Congress gave it to him unless they really gave it to

3       them.       Why wouldn't it apply doubly to the President, who is

4       not operating within an organic statute?

5                      MR. HAMILTON:   The reason, Your Honor, is that at

6       bottom the Major Questions Doctrine is a familiar contextual

7       canon.       It's the idea that Congress, through vague terms, is

8       not going to give agency heads authority to opine on huge

9       questions that we would normally think Congress would

10      handle.       Things like whether the CDC director can create an

11      eviction moratorium.       That same context is the opposite in

12      the context of statutes delegating foreign affairs powers to

13      the President.

14                     We cite the B-West Imports v. United States case

15      from the Federal Circuit in 1996.              And that case articulates

16      a different contextual canon.            In a statute dealing with

17      foreign affairs, a grant to the President which is expansive

18      to the reader's eye should not be hemmed in or cabined,

19      cribbed, confined by judicial blinders.

20                     And so in the context of foreign affairs and

21      delegations to the President, it is entirely normal for

22      Congress to delegate broad powers to the President,

23      something that has --

24                     HON. JANE A. RESTANI:        Just a second.       Tariffs are

25      the business of Congress and they're the business of

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1       Congress to give away.       It doesn't matter that there is an

2       effect on foreign policy, foreign affairs.                 This is the way

3       that the Constitution divided these things up.                 So it's

4       Congress's business and Congress can give it away.                   And so

5       the question is did they give it away with tough

6       restrictions, with enough standards?                Isn't that the real

7       question?

8                    MR. HAMILTON:    I think that is at least part of

9       the question.     And they did give it away.              232, the relevant

10      language there is adjust imports.             And the standard is even

11      more open-ended than the standard in IEEPA.                 Here with IEEPA

12      we've got multiple elements.

13                   HON. JANE A. RESTANI:         I think we -- well, 232 has

14      a number of standards.       It's a little different from IEEPA

15      as regards to tariffs.       I mean, we have the whole section

16      on, you know, economic security, which has been upheld by

17      the Supreme Court in Algonquin, right?

18                   MR. HAMILTON:    Yes.      And the statues are

19      different.     But we think that if 232 delegated the power to

20      impose tariffs by adjusting imports, regulating imports,

21      which is the same term that appears in the Foreign Commerce

22      Clause in Article 1 Section 8 --

23                   HON. JANE A. RESTANI:         You think that IEEPA with

24      regard to tariffs has standards that are equal to those of

25      232.

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1                   MR. HAMILTON:     Not equal.            My point was to convey

2       that IEEPA does have meaningful limits and standards --

3                   HON. JANE A. RESTANI:          What are the limits?

4                   MR. HAMILTON:     I beg your pardon?

5                   HON. JANE A. RESTANI:          What are the limits on

6       tariffs in IEEPA?

7                   MR. HAMILTON:     There are a number of exceptions to

8       IEEPA in I think it's Subsection 2, or (b) rather, 1702(b)

9       is devoted to exceptions to IEEPA authority.                 And then

10      there's the language in 1701 about it needing to be an

11      unusual and extraordinary threat.

12                  HON. TIMOTHY M. REIF:          But you're saying we can't

13      -- you're saying the Court cannot interpret that.                  The

14      exceptions are pretty narrow as I recall.                 So if we focused

15      on the unusual and extraordinary, you say that is -- I think

16      there's an inconsistency in your position.                 You're saying

17      that that is the restriction that Congress passed on the

18      present use of tariffs in your view under IEEPA.                  But the

19      Court can't review that -- cannot review that standard, r?

20                  MR. HAMILTON:     Yes, but I don't think that the

21      meaningfulness of a statute depends on whether it implicates

22      say a political question.        These are statues that the

23      executive branch interprets and faithfully implements.                     The

24      presumption of regularity holds that it is presumed that

25      public officials honestly apply statutes and legal duties

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1       absent a clear showing to the contrary, which is not present

2       here.

3                     Another point on the major questions doctrine.

4       This doctrine does not hold that broad delegations of

5       authority are impermissible.          Instead, it holds that a clear

6       statement is required.        And there is a clear statement in

7       IEEPA.      This isn't something that the reply brief that my

8       friend on the other side filed really disputes too much.

9       But IEEPA has nine expansive and overlapping verbs that

10      convey broad authority.        And as I noted earlier, regulate is

11      itself a very broad term, the same term that appears in the

12      Foreign Commerce Clause of the Constitution.                And the fact

13      that IEEPA creates an emergency power heightens the extent

14      to which we would think a --

15                    HON. TIMOTHY M. REIF:        The framers dealt with

16      tariffs separately from regulation of foreign commerce,

17      right?

18                    MR. HAMILTON:    Yes, but there's case law

19      recognizing that tariffs are also within the power to

20      regulate foreign commerce.         And again, we think that the

21      emergency power is important because it heightens that

22      context that it would be understandable for Congress to

23      delegate to the President expansive authorities that he can

24      exercise when IEEPA's conditions are satisfied.

25                    HON. GARY S. KATZMANN:        Mr. Hamilton, let me ask

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1       you the same questions that I asked your brother.                 Quoting

2       again from Yoshida.     So the Yoshida court in upholding

3       President Nixon's actions stated the tariffs there did not,

4       "attempt to tear down or supplant the entire tariff scheme

5       of Congress.    Rather, the President imposed a limited

6       surcharge as a temporary measure calculated to help meet a

7       particular national emergency."            And the Court further said

8       that the declaration of a national emergency is not a

9       talisman enabling the President to rewrite the tariff

10      schedules as it was not in this case.

11                  So again, I think you can talk me through this

12      point, but I just want to be clear in my own mind.                  Why is

13      the actions here, why are the actions not effectively an

14      effort to rewrite the tariff schedules?

15                  MR. HAMILTON:     There are multiple statutes that

16      give the President tariff authority.                He's operating under

17      multiple of those authorities.           You know, outside the

18      executive order that we're talking about here today.                  But

19      IEEPA fits within the scheme of those other tariff

20      authorities.

21                  And again, this is a point that we think is

22      addressed and dealt with in Trump v. Hawaii where the same

23      argument was made that Congress had already dealt with a

24      specific problem and the Court did not see that as a reason

25      to give 1182's broad language a narrowing construction.

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1                   HON. JANE A. RESTANI:          Could I just be a bit of a

2       nerd a second?     I want to make sure I have your

3       interpretation of 1702 correctly.             It's (a)(1)(B).       So the

4       President may under such regulations as he may prescribe by

5       means of instructions, licenses, or otherwise.                Then in (B),

6       regulate.     And then we go down, any property in which any

7       foreign country or national thereof has an interest by any

8       person or with respect to any property subject to the

9       jurisdiction of the United States.             So is that how we put

10      the words together to get -- to read it?

11                  MR. HAMILTON:     I want to make sure we got in the

12      word importation as well.

13                  HON. JANE A. RESTANI:          Maybe it didn't --

14                  MR. HAMILTON:     Regulate importation of any

15      property --

16                  HON. JANE A. RESTANI:          Regulate -- okay, regulate

17      importation --

18                  MR. HAMILTON:     Exactly.

19                  HON. JANE A. RESTANI:          -- of -- okay, importation

20      or exportation of any property.            Okay, you're right.        I

21      skipped over that.     So it's the regulate in (B), not the

22      regulation -- not the regulate in (A).

23                  MR. HAMILTON:     Correct.

24                  HON. JANE A. RESTANI:          Okay.    It's not easy to

25      read this statute, I must say.           Okay.

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1                   MR. HAMILTON:      If the Court has no further

2       questions right now, I'll reserve my remaining time for

3       rebuttal.

4                   HON. JANE A. RESTANI:           Should we give him ten

5       minutes?    I don't know how many people can fit in --

6                   HON. GARY S. KATZMANN:           Thank you, Counsel.            We'll

7       take ten minutes for recess.           Thank you.

8                   CLERK:     All rise.     Court stands in recess.

9                   (Recess)

10                  CLERK:     All rise.     This Honorable Court now

11      resumes its session.

12                  HON. GARY S. KATZMANN:           Counsel, let's resume.

13                  Mr. Schwab -- Mr. Gold, how many minutes does Mr.

14      Schwab --

15                  CLERK:     Nine minutes.

16                  HON. GARY S. KATZMANN:           nine minutes.

17                  MR. SCHWAB:     I started my argument by talking

18      about the assertion of Defendants that the President has

19      unlimited -- essentially unlimited power to impose tariffs

20      on any country at any rate at any time.               And Defendant's

21      argument does nothing to contradict that.                  In fact, they

22      doubled down on it.       They said this Court can't review

23      whether there is an emergency or whether there is an unusual

24      or extraordinary threat.         Those are the only limitations in

25      the statute on the President.            So effectively what this --

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1       what Defendants are arguing is that they have unlimited

2       discretion under IEEPA to issue tariffs however they want.

3       I think that is a big problem.

4                   Judge Restani, we talked            a little bit about the

5       standard, and I think you were a little frustrated by my

6       lack of trying to articulate a standard on what an emergency

7       is and what an unusual and extraordinary threat is.                   I think

8       that we can -- the Defendant says that unusual means not

9       usual and extraordinary means not ordinary.                 I think those

10      are fine standards.       And by those standards, this does not

11      meet -- this doesn't meet the unusual and extraordinary

12      threat.

13                  HON. GARY S. KATZMANN:           What is your home run case

14      to support your analysis?

15                  MR. SCHWAB:     That this is not unusual and

16      extraordinary?

17                  HON. GARY S. KATZMANN:           Right, yeah.

18                  MR. SCHWAB:     I'm not sure that there is a case.

19      I'm just saying that --

20                  HON. GARY S. KATZMANN:           Is there a triple case or

21      a double case?

22                  MR. SCHWAB:     I'm sorry?

23                  HON. GARY S. KATZMANN:           Is there a doubles case or

24      a triple case or a singles case?

25                  MR. SCHWAB:     I'm not sure, Your Honor.             I'm just

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1       going by the standard that they suggested using the

2       dictionary definitions.       And under that standard, I think

3       it's pretty clear that this is not -- this is not usual.

4       This is not ordinary.

5                     With respect to an emergency in -- I mentioned a

6       little bit of the legislative history.              And they mentioned

7       the not a normal state of affairs that has to -- an

8       emergency has to be rare, brief, and not a normal state of

9       affairs.      This is a normal state of affairs.            The Defendant

10      talks about -- I think Trump v. Hawaii came up, and they

11      relied a little bit on that.

12                    An important point about that is that the

13      immigration power is not an enumerated power in Section --

14      in Article 1 Section 8.       The tariff power is an enumerated

15      power.      So whatever reliance the Defendant has on Trump v.

16      Hawaii should be restricted based on that important fact.

17                    I think also when we're talking about an

18      emergency, we can -- I think we can look to what the

19      President did.      I think the Defendants explain what they

20      think are problems.      But not all problems are emergencies.

21      And the actions of the President I think undermine the claim

22      that these are emergencies.

23                    For example, there is the 90-day pause on

24      retaliatory tariffs.      There is a carveout for specific

25      products.      In fact, some of those products based on the

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1       national -- the security justifications, you would think

2       that if there were national security justifications would

3       not be carved out.

4                   And also it's an across-the-board tariff.                 There

5       are tariffs on countries that we have a trade surplus with.

6       That doesn't gel with the justification that we have a trade

7       deficit.    Why impose a tariff on countries that we have a

8       trade surplus with?

9                   The Defendant argues that the cumulative effects

10      of the trade deficit is the emergency.               But the problem is

11      the Defendant provides no proof that there is -- that -- of

12      what these cumulative effects are or that those                  result in

13      an emergency. And without proof, there's no standard.                      So

14      there's no way for this Court to review.

15                  And that goes back to, Judge Restani, your peanut

16      butter example.       If there's -- if there's no proof that

17      there's a cumulative effect, then there's no standard and

18      the justification can be virtually anything.

19                  HON. GARY S. KATZMANN:           So if hypothetically a

20      case like this were remanded for a determination as to a

21      showing of acute effects of persistent trade deficits and

22      that was established (indiscernible) by the government,

23      would that cure whatever deficiency exists?

24                  MR. SCHWAB:     No, Your Honor, because that only

25      really address -- again, I have six reasons why this Court

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1       should rule in my favor.        That doesn't address every single

2       one.    It just addresses the justification under what either

3       an emergency or an unusual circumstance is.                This Court

4       doesn't have to take those arguments.                It can rule on the

5       other arguments.

6                   I do want to get to the major questions doctrine

7       because that was brought up in -- and I think one thing that

8       was missing from the discussion is that at least three

9       circuit courts have said that the Major Question Doctrine

10      applies to the President.        The Fifth Circuit, the Sixth

11      Circuit, and the Seventh -- or in the Eleventh Circuit.                   The

12      Fifth Circuit is Louisiana v. Biden.                Kentucky v. Biden is

13      the Sixth Circuit.     And then Georgia v. President of the

14      United States is the Eleventh Circuit.                And I should also

15      mention that in Nebraska v. Sioux, which is the Ninth

16      Circuit, they implicitly accept that the Major Questions

17      Doctrine applies to the President.

18                  And of course I think as Your Honors mentioned, if

19      it doesn't apply to the President, then it could just be

20      avoided because the President could just issue an executive

21      order to the agency ordering them to do whatever and then

22      say, well, you can't review it under a Major Questions.

23                  And even the President's sort of unitary theory of

24      the executive says that there's not really a difference

25      between the President and an agency, that the President has

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1       the power over those agencies.               So just under that logic

2       alone, the distinction for Major Questions doesn't make

3       sense.

4                      Also the Maple Leaf case was mentioned.                And Maple

5       Leaf does allow this Court to review the President's actions

6       and find that they are not acceptable if -- there were three

7       standards.       I think two were relevant.              One is the clear

8       misconception of a governing statute.                   Well, we have that

9       here.       This is not a tariff power that gives the President

10      unlimited tariffs.       But also if the action is outside the

11      delegated authority of the President, then the court can

12      act.

13                     I think that's also important to recognize that

14      that implies that there has to be some standard of what the

15      delegated authority is.           And if there --

16                     HON. JANE A. RESTANI:           The clear misconstruction,

17      maybe your argument goes to the extraordinary, unusual,

18      whatever standard.       It can't really go to tariffs aren't

19      covered because then the court of appeals clearly

20      misconstrued those words.            Don't I have a little problem

21      there?

22                     MR. SCHWAB:     You mean in Yoshida?

23                     HON. JANE A. RESTANI:           Yeah.     Because it has the

24      words.       And how could the President have clearly

25      misconstrued that part of the statute if the court of

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1       appeals said those words mean that?

2                   MR. SCHWAB:     Even if that's true, I think you

3       could say that the President clearly misconstrued the

4       statute to say that he has this unlimited power to tariff at

5       any rate, at any time, on any country.

6                   HON. JANE A. RESTANI:           All right.       I got your

7       answer.

8                   MR. SCHWAB:     So -- and also of course to the

9       emergency and the unusual powers.

10                  Those were the main points that I wanted to

11      address.    And I see I have a minute left.                So if there's any

12      other questions, I'll be happy to answer those.                   Otherwise,

13      I'll sit down.

14                  HON. GARY S. KATZMANN:           Thank you, Counsel.

15                  MR. SCHWAB:     Thank you, Your Honors.

16                  MR. HAMILTON:      Thank you, Your Honors, just a few

17      points on rebuttal.

18                  I first wanted to get back on my homework.

19      Footnote 33, we've looked at that.              I think the first level

20      answer is that this is dicta in a footnote.                  And I think

21      it's difficult to really say exactly what the court is

22      trying to express there.         Another important point though is

23      that the emergency that we're talking about here is

24      different from the emergency that was declared in 1971 with

25      the balance of payments crisis.             The executive order spells

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1       out in detail through multiple pages the complexity of this

2       emergency, the way that the policies of foreign countries

3       are suppressing American exports and the way that it is

4       affecting us domestically with military readiness as well as

5       supply chain reliability.

6                   But I think maybe the most important point about

7       the Yoshida footnote is that it doesn't anticipate or speak

8       to what happened after Yoshida, which is that Congress then

9       enacted IEEPA and through that language carried over the

10      regulate importation term which includes the power to set

11      tariffs.

12                  A question also came up about immigration

13      authority under the constitution.             Article 1 Section 8 gives

14      the Congress a power to set a uniform rule of naturalization

15      that includes immigration authority.

16                  I'm going to respond to something my friend said

17      about circuit precedent in the Major Questions Doctrine.                   I

18      think he overstates the state of play there.                Nebraska v.

19      Sioux, the Ninth Circuit decision, has a footnote, Footnote

20      6, that says that it is not expressing any opinion on the --

21      whether the Major Questions Doctrine applies to delegations

22      of authority to the President.

23                  The Eleventh Circuit's decision is an opinion of a

24      single judge.    There were three separate opinions there.

25      The opinion concurring in the result does not speak to the

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1       Major Questions Doctrine.

2                      To sum up, we think this is really a pretty simple

3       case.       The relevant question of statutory interpretation is

4       what regulate importation means.             Yoshida interpreted that

5       exact same term.       It concluded that it includes the power to

6       set tariffs.       Federal Circuit's B-West Imports case

7       recognizes that statutes delegating powers to the President

8       in the space of foreign affairs merit a broad construction

9       because of the context against which they are legislated.

10      The Major Questions Doctrine does not apply.                   The contextual

11      clothes underpinning that doctrine have been around as long

12      as the constitution's separation of powers have.                    As my

13      friend acknowledged, it goes back before this recent

14      labeling of the Major Questions Doctrine.

15                     And as for the declaration of a national

16      emergency, that is a political question.                   In 2020, the DDC

17      District Court recognized that no court has ever reviewed

18      the merits of a national emergency declaration.                    We cite

19      Chang v. United States in the Federal Circuit, recognizing

20      that examining the justifications --

21                     HON. JANE A. RESTANI:        Did those national

22      emergencies have the IEEPA unusual and extraordinary

23      additional gloss on them?

24                     MR. HAMILTON:   I think that Chang was an IEEPA

25      case.       I'm not sure about Center for Biological Diversity v.

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1       Trump.

2                      HON. JANE A. RESTANI:        Okay.

3                      MR. HAMILTON:     It would be a break with precedent

4       for the Court to hold that there is not a political question

5       here.       And the fact that there exists a political question

6       comes not only from the fact that there are no judicially-

7       discoverable and manageable standards for resolving the

8       question, but also the fact that Congress anticipated the

9       need for some sort of review of the exercise of IEEPA

10      authorities.       And that's why it created a detailed,

11      expedited scheme for legislative review.                   It's a scheme that

12      is working right now.          And as I noted, the Senate took a

13      vote on this declaration in April.

14                     HON. GARY S. KATZMANN:        So if we look at -- check

15      the boxes with respect to the scheme, your understanding is

16      that each of the boxes has been checked?

17                     MR. HAMILTON:     Each of the boxes has been checked.

18      The preamble to the executive order, the April 2 executive

19      order explains the different conditions that make IEEPA --

20      this invocation of IEEPA authority appropriate.

21                     HON. JANE A. RESTANI:        Let me ask a question.           The

22      congressional role that exists after the emergency is

23      declared.       I don't know how that relates to delegation from

24      Congress.       That is, don't they have to put the standards and

25      the restrictions on before the President acts, not after?

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1                     MR. HAMILTON:     Well, I hope I am understanding the

2       question.      The procedures for legislative review are in

3       IEEPA and the National Emergencies Act.

4                     HON. JANE A. RESTANI:        Right.

5                     MR. HAMILTON:     So the President is exercising his

6       authority against that backdrop and then he is obligated to

7       consult with Congress, to notify Congress when this power is

8       exercised.      All of that reflects the Congress's recognition

9       of their desire for a review process and that that process

10      be with the Congress.         It's a process --

11                    HON. JANE A. RESTANI:        Okay.    Assuming we have a

12      delegation issue, you have to -- Congress has to delegate

13      its tariff-making authority with some kind of standards.

14      The review by Congress isn't really part of that, is it?

15                    MR. HAMILTON:     I agree.      I mean, I think for

16      nondelegation we would just focus on whether there is an

17      intelligible principle under Gundy.

18                    HON. JANE A. RESTANI:        Exactly.

19                    MR. HAMILTON:     And we see that in 1702 and 1701 of

20      IEEPA.      That's the power that the President is exercising.

21      As for Congress's part, you know, I don't know that there

22      would be any delegation problem with Congress.

23                    HON. JANE A. RESTANI:        Well, I'm just saying that

24      the action after the fact by Congress doesn't really give

25      you any intelligible principle or standards, correct?

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1                      MR. HAMILTON:   Sure.      But I think that Congress's

2       discretion, the reasons that it might go in a different

3       direction on a national emergency declaration could go

4       beyond the legal sufficiency of the President's executive

5       order.       It could include policy disagreement with the

6       President's executive order in addition to perceived legal

7       defects with the order.

8                      HON. GARY S. KATZMANN:        So the scheme -- just to

9       review your position that you are suggesting is a scheme

10      where, yes, there are three branches of government, but the

11      judiciary is somehow omitted or deleted from that government

12      structure.       You know, just as interested in your response to

13      that.       Because again, Yoshida says the mere incantation of

14      national emergency cannot of course sound the death knell of

15      the Constitution.       And then says later on, however, here the

16      executive does not seek nor would it receive judicial

17      approval of a whole seal delegation of legislative power.

18                     It also says the declaration of a national

19      emergency -- we've quoted this before and gotten your

20      response -- is not a talisman enabling the President to

21      rewrite the tariff schedules.            Why is -- again, that's --

22      I'm not suggesting that I have a position.                 I'm just asking

23      that you respond again as you're finishing up here.                   You

24      know, fundamentally, you know, why isn't this really a

25      separation of power issue.

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1                     MR. HAMILTON:     Sure.    So to be clear, we think the

2       Court does have a role.         We are not arguing that regulate

3       importation is a political question.                We are only arguing

4       that the parts of the plaintiff's arguments that implicate

5       the six types of political questions that Baker v. Carr sets

6       out would be the sorts of questions that are beyond judicial

7       review.      We think that the fact that Congress anticipated

8       the need for review, it created a review scheme through the

9       legislative branch is also a reason that reinforces

10      Congress's judgment that this -- these would be questions

11      decided by the political branches in the end.

12                    If there are no further questions, we ask the

13      Court would deny Plaintiff's motions and enter judgment for

14      Defendants.      Thank you.

15                    HON. GARY S. KATZMANN:        Thank you.      Thank you.

16                    HON. JANE A. RESTANI:        Okay.

17                    HON. GARY S. KATZMANN:        So in conclusion, the

18      panel would like to thank counsel for your enlightening

19      arguments and your various briefings.                We also thank the

20      various amici for their briefs.            And of course our vigorous

21      questioning here should not be interpreted as suggesting any

22      views.      That is something that -- where we have obviously a

23      continuing open mind.         And also as has been noted, this is

24      not a case about trade policy preference, it's about

25      governance, the application of laws, the roles of the

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1       various branches of government.            And again, we very much

2       appreciate your time.      And we will perhaps see some of you

3       again next week on May 21st at 2:00.                So some aspect to be

4       continued.     Yes.

5                    HON. TIMOTHY M. REIF:         We always -- the panel

6       always likes to thank the clerk family, too.                We could not

7       be here without the work of our security officers who do a

8       fantastic job, one of whom has been with us all morning,

9       without our custodial staff, without our fantastic IT, and

10      case management staff.       So we give them our thanks, and we

11      all owe them our thanks.

12                   HON. GARY S. KATZMANN:         All right.      We are

13      adjourned.

14                   CLERK:   All rise.

15                   (Whereupon these proceedings were concluded)

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1                              C E R T I F I C A T I O N

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3               I, Sonya Ledanski Hyde, certified that the foregoing

4       transcript is a true and accurate record of the proceedings.

5

6       <%12151,Signature%>

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8       Sonya Ledanski Hyde

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